       Case 4:08-cr-00063-BSM           Document 124         Filed 08/29/12      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                  NO. 4:08CR00063-04 JLH

PATRICK JONES                                                                         DEFENDANT

                                              ORDER

       Court convened on August 6, 2012, for a scheduled hearing on the government’s motion to

revoke supervised release of defendant Patrick Jones. At the onset of the hearing, counsel for

defendant requested a continuance in order to obtain discovery in the state criminal case. The hearing

on the government’s motion to revoke supervised release is hereby rescheduled to begin on FRIDAY,

SEPTEMBER 7, 2012, at 2:00 P.M., in Courtroom #4-D, Richard Sheppard Arnold United States

Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to show cause why the term of

supervised release previously imposed should not be revoked. Document #107.

       IT IS SO ORDERED this 29th day of August, 2012.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
